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6

7    Attorneys for Jeremy W. Faith, Chapter 7 Trustee

8
                              UNITED STATES BANKRUPTCY COURT
9                              CENTRAL DISTRICT OF CALIFORNIA
                                      NORTHERN DIVISION
10

11
     In re                                             Case No.: 9:13-bk-10970-RR
12
     DOLORES R. TREJO,                                 Chapter: 7
13
                                            Debtor. Adv. No.: ___________________
14
     JEREMY W. FAITH, Chapter 7 Trustee,               COMPLAINT FOR (1) DECLARATORY
15
                                                       RELIEF DETERMINING PROPERTY OF
                                          Plaintiff,   THE ESTATE (11U.S.C. § 541); AND (2)
16
                                                       TURNOVER OF PROPERTY OF THE
     vs.                                               ESTATE (11 U.S.C. § 542)
17
     CALIFORNIA STATE LOTTERY;
18   CALIFORNIA STATE LOTTERY                          [11 U.S.C. §§ 541 and 542]
     COMMISSION; GREGORY AHERN, an
19   individual; NATHANIEL KIRTMAN III, an         Date: [To Be Set By Summons]
     individual; CONNIE M. PEREZ, an               Time:
20   individual; JOHN SMOLIN, an individual;       Place: Courtroom 201
     PHIL TAGAMI, an individual,                          United States Bankruptcy Court
21
                                                          1415 State Street
                                       Defendants.        Santa Barbara, CA 93101
22

23

24   TO THE HONORABLE ROBIN L. RIBLET, UNITED STATES BANKRUPTCY JUDGE:

25           Plaintiff Jeremy W. Faith, Chapter 7 trustee (the “Trustee” or “Plaintiff”) for the

26   bankruptcy estate of Dolores R. Trejo (the “Debtor”) respectfully alleges as follows:

27   ///

28   ///
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1                                 JURISDICTIONAL ALLEGATIONS
2           1.     This Court has jurisdiction over this adversary proceeding by virtue of 28
3    U.S.C. §§ 157(a) and 1334(b). By virtue of 28 U.S.C. § 157(b)(2)(E), this is a core
4    proceeding.
5           2.     Venue is proper in this Court under 28 U.S.C. § 1409 because this
6    adversary proceeding arises under and in connection with a case filed under Title 11
7    which is pending in this district.
8           3.     The Bankruptcy Estate’s right to recover under 11 U.S.C. § 542(a) the
9    Lottery Winnings (defined below) held by the defendant California State Lottery
10   (“Lottery”), by and through the defendant California State Lottery Commission,
11   composed of five members, Gregory Ahern, Nathaniel Kirtman III, Connie M. Perez,
12   John Smolin and Phil Tagami (collectively, the “Defendants”), requires an adversary
13   pursuant to Federal Rule of Bankruptcy Procedure 7001.
14          4.     Given that the California Franchise Tax Board filed a proof of claim on
15   August 23, 2013, there is no Eleventh Amendment immunity issue. See e.g., In re
16   Harleston, 331 F.3d 699 (9th Cir. 2003) (State waived sovereign immunity by filing proof
17   of claim).
18                                    GENERAL ALLEGATIONS
19          5.     On April 16, 2013, Dolores R. Trejo (“Debtor”) commenced this case by the
20   filing of a voluntary petition under Chapter 7 of Title 11 of the United States Code (the
21   “Bankruptcy Code”).
22          6.     Jeremy W. Faith is the duly-appointed, qualified and acting Chapter 7
23   Trustee in this bankruptcy case (“Trustee” and/or “Plaintiff”).
24          7.     On Schedule B, Line 35, the Debtor scheduled “State Lottery Winning
25   Payment to be received January 2014 in the amount of $1,224,000.00.”
26          8.     As of the filing of the Debtor’s bankruptcy petition, the Debtor has three (3)
27   annual lottery payments remaining for the years 2014 through and including 2016, from
28   a prize Debtor won on January 29, 1997, from the Lottery. A copy of a letter dated


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1    August 15, 2013 from the Lottery is attached hereto as Exhibit 1 and incorporated
2    herein by reference. The Debtor’s “payments of $1,700,000 (less federal taxes and
3    deductions authorized by law) are scheduled to be paid annually on or around January
4    20th in those years.” Id.
5           9.     On August 23, 2013,Trustee’s counsel sent a letter to the Lottery, informing
6    it that “any and all future payments are property of [the Debtor’s] Bankruptcy Estate and
7    must be re-directed and paid to the Trustee” and requiring a written response and
8    confirmation of the foregoing no later than August 30, 2013. A copy of the August 23rd
9    letter is attached hereto as Exhibit 2 and incorporated herein by reference.
10          10.    On or about September 9, 2013, Trustee’s counsel received a written
11   response (dated September 6, 2013) from the Lottery. A copy of the Lottery’s letter
12   dated September 6, 2013 is attached hereto as Exhibit 3 and incorporated herein by
13   reference. As set forth in the September 6th letter, the Lottery states that the “Lottery is
14   unable to process [the Trustee’s] request based on the documentation currently
15   provided” citing California Government Code section 8880.325, that the right to receive a
16   Lottery prize is generally not assignable. As further provided in the letter, the Lottery
17   requires a court order as specified under Government section 8880.321 [8880.325], and
18   once a certified or confirmed copy of the court order is provided, the Lottery will comply
19   and redirect the payments to the Trustee.
20                                   FIRST CLAIM FOR RELIEF
21   (Declaratory Relief - Lottery Payments are Property of the Estate – 11 U.S.C. § 541)
22          11.    Plaintiff re-alleges and incorporates herein by reference the allegations in
23   Paragraphs 1 through 10, as though fully set forth herein.
24          12.    Upon the filing of a bankruptcy petition, a bankruptcy estate is created
25   which includes “all legal or equitable interests of the debtor in property as of the
26   commencement of the case.” 11 U.S.C. § 541(a)(1). “By including all legal interests
27   without exception, Congress indicated its intention to include all legally recognizable
28


                                                   3
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1    interests although they may be contingent and not subject to possession until some
2    future time.” Rau v. Ryerson (In re Ryerson), 739 F.2d 1423, 1425 (9th Cir. 1984).
3           13.    In addressing the issue of lottery proceeds, the courts have consistently
4    held that the future right to receive lottery payments constitutes property of the estate
5    pursuant to 11 U.S.C. § 541. See In re Miller, 16 B.R. 790, 791 (Bankr. D. Md. 1982)
6    (“debtor’s interest, albeit in some respects a future interest, in the lottery winnings
7    became property of the estate upon the filing of his petition for relief”); In re Meyers, 139
8    B.R. 858, 860 (Bankr. N.D. Ohio 1992) (“future lottery proceeds are property of the
9    estate as the debtor had a right to receive proceeds as of the commencement of that
10   case.”); In re Dalton, 146 B.R. 460, 462 (Bankr. D. Ariz. 1992) (“all the debtors’ interests
11   in the winning ticket are estate property”); In re Koonce, 262 B.R. 850 (Bankr. D. Nev.
12   2001) (“lottery prize payments payable after the petition was filed constitute property of
13   the estate under 11 U.S.C. § 541(a)(1)).
14          14.    Consistent with these line of cases, it is clear that the Debtor’s three (3)
15   annual lottery payments remaining for the years 2014 through and including 2016
16   (“Lottery Winnings”), from a prize Debtor won on January 29, 1997, from the California
17   State Lottery are property of the Debtor’s bankruptcy estate to be administered by the
18   Trustee for the benefit of the creditors and interested parties.
19          15.    The Lottery Winnings are therefore property of the estate pursuant to 11
20   U.S.C. § 541.
21                                  SECOND CLAIM FOR RELIEF
22                    (Turnover of Property of the Estate – 11 U.S.C. § 542)
23          16.    Plaintiff realleges and incorporates herein by reference the allegations in
24   Paragraphs 1 through 15, as though fully set forth herein.
25          17.    Section 542 provides that any entity “in possession, custody, or control,
26   during the case, of property that the trustee may use, sell, or lease under section 363 of
27   this title ... shall deliver to the trustee, and account for, such property or the value of such
28   property.” 11 U.S.C. § 542(a).


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1           18.     Defendants are in possession of property of the Estate, namely the Lottery
2    Winnings.
3           19.     Pursuant to 11 U.S.C. § 542, Plaintiff, as Trustee, is entitled to turnover of
4    the Lottery Winnings.
5           20.     Accordingly, the three (3) annual lottery payments remaining for the years
6    2014 through and including 2016, from a prize Debtor won on January 29, 1997, in the
7    amount of $1.7 MM (less federal taxes and deductions authorized by law) are scheduled
8    to be paid annually on or around January 20th in those years.” (See para. 9, supra.)
9    These payments must be re-directed to the Trustee.
10          WHEREFORE, Plaintiff prays for relief as follows:
11          1.      For an order finding that the Lottery Winnings are Property of the Estate
12   pursuant to 11 U.S.C. § 541(a);
13          2.      For an order directing the Defendants to re-direct the Lottery Winnings to
14   the Trustee in accordance with 11 U.S.C. § 542;
15          3.      For costs of suit incurred herein; and
16          4.      For such other and further relief as the Court deems just and proper.
17                                        RESERVATION OF RIGHTS
18          Plaintiff reserves all of his rights to amend this Complaint as he deems necessary
19   and appropriate, including, without limitation, adding any additional allegations, claims
20   for relief, or prayers for relief.
21
     DATED: September 20, 2013                          MARGULES FAITH, LLP
22

23                                                      By:     _/s/ Craig G. Margulies________
                                                                     Craig G. Margulies
24                                                                    Meghann Triplett
                                                              Attorneys for Jeremy W. Faith,
25                                                                   Chapter 7 Trustee
26

27

28


                                                    5
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FORM B104 (08/07)
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                                                                                                     ADVERSARY PROCEEDING NUMBER
                ADVERSARY PROCEEDING COVER SHEET                                                     (Court Use Only)
                       (Instructions on Page 2)
 PLAINTIFFS                                                                      DEFENDANTS
Jeremy W. Faith, Chapter 7 Trustee                                             CALIFORNIA STATE LOTTERY; CALIFORNIA STATE LOTTERY COMMISSION;
                                                                               GREGORY AHERN, an individual; NATHANIEL KIRTMAN III, an individual; CONNIE
                                                                               M. PEREZ, an individual; JOHN SMOLIN, an individual; PHIL TAGAMI, an individual

 ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
Craig G. Margulies, Esq., Meghann Triplett, Esq.
Margulies Faith, LLP, 16030 Ventura Blvd., Suite 470, Encino, CA
91436
 PARTY (Check One Box Only)                                                      PARTY (Check One Box Only)
 G Debtor             G U.S. Trustee/Bankruptcy Admin                            G Debtor              G U.S. Trustee/Bankruptcy Admin
 G Creditor           G Other                                                    G Creditor            G
                                                                                                       ✔ Other


 ✔
 G Trustee                                                                       G Trustee

 CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
 1. Declaratory Relief - Lottery Payments are Property of the Estate – 11 U.S.C. § 541; 2. Turnover of Property of the Estate – 11
 U.S.C. § 542



                                                                   NATURE OF SUIT
          (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

 FRBP 7001(1) – Recovery of Money/Property                                       FRBP 7001(6) – Dischargeability (continued)

 G
 2 11-Recovery of money/property - §542 turnover of property
                                                                                 G 61-Dischargeability - §523(a)(5), domestic support
                                                                                 G 68-Dischargeability - §523(a)(6), willful and malicious injury
 G 12-Recovery of money/property - §547 preference                               G 63-Dischargeability - §523(a)(8), student loan
 G 13-Recovery of money/property - §548 fraudulent transfer                      G 64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                         (other than domestic support)
 G 14-Recovery of money/property - other                                         G 65-Dischargeability - other
 FRBP 7001(2) – Validity, Priority or Extent of Lien                             FRBP 7001(7) – Injunctive Relief
 G 21-Validity, priority or extent of lien or other interest in property         G 71-Injunctive relief – imposition of stay
 FRBP 7001(3) – Approval of Sale of Property
                                                                                 G 72-Injunctive relief – other
 G 31-Approval of sale of property of estate and of a co-owner - §363(h)         FRBP 7001(8) Subordination of Claim or Interest

 FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                 G 81-Subordination of claim or interest
 G 41-Objection / revocation of discharge - §727(c),(d),(e)                      FRBP 7001(9) Declaratory Judgment
                                                                                 G
                                                                                 1 91-Declaratory judgment
 FRBP 7001(5) – Revocation of Confirmation
 G  51-Revocation of confirmation                                                FRBP 7001(10) Determination of Removed Action
                                                                                 G  01-Determination of removed claim or cause
 FRBP 7001(6) – Dischargeability
 G 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims               Other

 G 62-Dischargeability - §523(a)(2), false pretenses, false                      G   SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.

         representation, actual fraud
                                                                                 G   02-Other (e.g. other actions that would have been brought in state
                                                                                        court if unrelated to bankruptcy case)
 G 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement,
     larceny

                          (continued next column)

 G Check if this case involves a substantive issue of state law                  G Check if this is asserted to be a class action under FRCP 23
 G Check if a jury trial is demanded in complaint                                Demand $

 Other Relief Sought
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                         BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
 NAME OF DEBTOR                                                                         BANKRUPTCY CASE NO.
 Debtor R. Trejo                                                                        9:13-bk-10970
 DISTRICT IN WHICH CASE IS PENDING                     DIVISIONAL OFFICE                      NAME OF JUDGE
 Central District of California                        Santa Barbara                          Robin L. Riblet

                                            RELATED ADVERSARY PROCEEDING (IF ANY)

 PLAINTIFF                                  DEFENDANT                                   ADVERSARY PROCEEDING NO.



 DISTRICT IN WHICH ADVERSARY IS PENDING                DIVISIONAL OFFICE                      NAME OF JUDGE



 SIGNATURE OF ATTORNEY (OR PLAINTIFF)



     /s/ Craig G. Margulies


 DATE                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
                                                       Craig G. Margulies
  9/20/13



                                                       INSTRUCTIONS
     The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of all of
the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the jurisdiction
of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be lawsuits
concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary proceeding.

    A party filing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding Cover Sheet,
unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic Case Filing
system (CM/ECF). (CM/ECF captures the information on Form 104 as part of the filing process.) When completed, the cover
sheet summarizes basic information on the adversary proceeding. The clerk of court needs the information to process the
adversary proceeding and prepare required statistical reports on court activity.

    The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings or
other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an attorney).
A separate cover sheet must be submitted to the clerk for each complaint filed.
Plaintiffs and Defendents. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.
Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.
Demand. Enter the dollar amount being demanded in the complaint.
Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the plaintiff
is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not presented by an attorney, the
plaintiff must sign.
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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &     FOR COURT USE ONLY
 Email Address

 CRAIG MARGULIES (State Bar No. 185925)
 MEGHANN TRIPLETT (State Bar No. 268005)
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 Email: Meghann@MarguliesFaithlaw.com



 Attorney for Plaintiff

                                        UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - NORTHERN DIVISIONDIVISION

 In re:
                                                                            CASE NO.: 9:13-bk-10970-RR
 DOLORES R. TREJO,
                                                                            CHAPTER: 7


                                                                            ADVERSARY NUMBER:
                                                             Debtor(s).
JEREMY W. FAITH, Chapter 7 Trustee,


                                                             Plaintiff(s)   SUMMONS AND NOTICE OF STATUS
                                Versus                                      CONFERENCE IN ADVERSARY PROCEEDING
CALIFORNIA STATE LOTTERY; CALIFORNIA STATE LOTTERY                          [LBR 7004-1]
COMMISSION; GREGORY AHERN, an individual; NATHANIEL
KIRTMAN III, an individual; CONNIE M. PEREZ, an individual;
JOHN SMOLIN, an individual; PHIL TAGAMI, an individual,
                                                         Defendant(s)

TO THE DEFENDANT: A Complaint has been filed by the Plaintiff against you. If you wish to defend against the
Complaint, you must file with the court a written pleading in response to the Complaint. You must also serve a copy of
your written response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a
written response is                   . If you do not timely file and serve the response, the court may enter a judgment by
default against you for the relief demanded in the Complaint.

A status conference in the adversary proceeding commenced by the Complaint has been set for:


              Hearing Date:                                 Place:
              Time:                                             255 East Temple Street, Los Angeles, CA 90012
              Courtroom:                                        3420 Twelfth Street, Riverside, CA 92501
                                                                411 West Fourth Street, Santa Ana, CA 92701
                                                                1415 State Street, Santa Barbara, CA 93101
                                                                21041 Burbank Boulevard, Woodland Hills, CA 91367




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
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You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate
with the other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least
14 days before a status conference. A court-approved joint status report form is available on the court’s website (LBR
form F 7016-1.1) with an attachment for additional parties if necessary (LBR form F 7016-1.1a). If the other parties do not
cooperate in filing a joint status report, you still must file with the court a unilateral status report and the accompanying
required declaration instead of a joint status report 7 days before the status conference. The court may fine you or
impose other sanctions if you do not file a status report. The court may also fine you or impose other sanctions
if you fail to appear at a status conference.


                                                                                  KATHLEEN J. CAMPBELL
                                                                                  CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding:




                                                                                  By:
                                                                                               Deputy Clerk




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE IN
ADVERSARY PROCEEDING [LBR 7004-1] will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
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